Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 1 of 11

Uatreo SNeakes Distal Court

 

Yor She

Dv wyee teh of

Cohuin doe

 

 

 

Omar We ae y

 

Plans ff ,

Case: 1:20-cv—-02572

 

Assigned To : Unassigned
Assign. Date : 9/8/2020

 

Description: FOIA/PI (I-DECK)

 

 

Recderal Buceau of

 

Ra vestida Kan.
| cs a

 

De leaden.

 

 

f

 

 

Oc grnen Comp lao

 

 

).

O moc We de Plage Yeten acting

5

 

|

 

Secks +c Compe We Gedetoa\

at pine

 

LpSe pt ce. Persona ,

statist |
dh

Ng ‘hilios

 

8 - Bs

 

| Puccan ok Ra vesh gabon (°F 92°) Xo produce

2 “tsar

Ah sey.
WAY
ae lee

 

 

fr
Jersey

 

Sj Sf
Recocds We Cequesred Under Ane  Lreedom of IE ———1 |
/ ——$——_.._|

 

 

Xn Gormadon Ach aod Pervay Ad /(” Fara /pars,

 

 

 

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 2 of 11

J. ws adion arises under 5S 4.56. 35 3

 

 

5a and S5La, ek Seg.

 

 

Paclkies

 

 

 

3. Aa We Se if (Gn incaccercdtect Prisun ,

 

 

 

Lobe Cesicdes ah She Feclera\ Cottecdoas Complex,

 

 

Medaoy, Joceked in Rope we, VES Cn lacs : -

 

 

Mailing Adebsess 5 P.o. Box Joos Peter sdurg, =

 

 

VA. AZBOH

 

 

4. De Cenc Y¥cdero\ Dureau. of Javead gedion

 

 

("SOs") iy an Agency of Sve Fedetal Government,

 

 

SQeekicadly , ae Deparr mers af jusce (” Dor”),

 

 

 

Lomnode Peinciele locedsson 35 Washing ton , Dic.

 

 

Spec kia, 130 Matce\ Vewve, Vhio agency , howedec,

 

 

 

 

 

 

 

 
 

Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 3 of 11

wad JOcaSions SS cough od Wre United States.

Decisdichign And Venue

|
+
|

Lh S. NS Couct has ecisd ickian our

|

J ANS acbion Lncer JB OS.¢. 3 13S because
|

AWNe ackien acide§ Onder a Fedea\ State.

fo. Venue. is applepricde in SWS Court

Qursuant Yo AS 5.0 3 13910b) and (e), 21 Se.,
because Woe “Desterck of Columbia ss a juckcal

Lelis\cids in cohsch Se FSI cesides and

Deca a Subsran\el pac of Jne ods ay

Om $55 009 920399 pise So Vreje Cloims Occurred

Ax She Distcick of — Glumbia.

 

4. Avteingsvely, Ucnue 3 appropriate in

: poge > | ;
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 4 of 11

Mere Disyeick of Calumbio. in A thordance Laan

 

 

Fos, 5 asic. g 552alo)(4)(B).

 

 

R yXrwe YFOT 35 mod immune Ao  Sacds

 

 

Lrindee Sne Fos] pA.

 

 

 

AN\ege $5005

 

 

GF. a Januoly DOIG, Ae Weawse  cequedted

 

 

anSocmadion Fram Awe F 82 celating Ao Sneer

 

 

Ceimac\ anuestga Non ConCesnrag Kim and She

 

 

Cecocds in  Wrere Pods 53/00»

 

 

 

jo. Xwe__F 93 _ assigned Tora Regues!

 

Ao. I4AR636-O0 aad adoied Me Wewe hat

 

 

oO Peren a) a>, Ae esas of Secord) Were

 

 

Qound , ng lee claded Soy %, AOI.

 

 

 

Rage,
of

 

 

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 5 of 11

WW. Me, Wese mod iGied hes feguest Ae dhe |
: -
equivalent of $5,060 or _)00 page For Free

by loodten Teguess On Dune JO, AOI9. We.

 

lane: led WES Tegqueys vin  Cerrftedl Moa), See
|

+4
44
|

| Stocking Aumder FOB 1830 O002 AYO OSS\ Gael
|

Iplaced ww Ne hands of Psd Sy0 Ct of the
Nedec\ Buceau of PCOS, an AZency of he

44

1 Couns One - Fora/ PA |

 

Ja, he defendank has nok ¢ e>ponclec/ ao My.

Werse's mods red Teques’-
3. Me Were  Ce- oNeg 25 and incorporates by

ecSex ence Ae ONegar!ons paragraphs T= 2 of Ans

fare

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 6 of 11

 

Complarns o> € Cally Ses Coan helaca.

 

4. 5S 450.3 S5AVO)M A)C ») Seguites hed

 

 

Sve FBT make ao dedeimineabron codbsa wendy

 

 

 

clays ~. &ec Tecergt of any Such Ceguest-

 

 

 

15. Wee Ad - coy petiod uadec clause CG) _ ee

 

Sha Commence on Ane dale on GWheh dhe

 

 

Veguest is Guts Cece sed by We appapriate

 

 

Compoven’ of We agency bud an ony event not
A I? 7

 

 

 

laSer San yen days aver he Ceguest is Giey¥

 

 

Fece Ved by ONy Companesst of She OFeOLY C5

 

Pacuads wn 5 45.c. 5 S5a(a(o(PG.).

 

 

 

lle. ious SNS Nand ing Ye ex\enSioa Uncler

 

 

 

5 Udt. 5 S5a(\MC)(BL), Yre FBR 54 Caled

 

 

Page ©
ro

 

 

 

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 7 of 11

|
[No make a cle Seremina Sion co Rin Sen days of

|
‘

Teceiu, ng. Ni3_ Lequess Ao. mod ne yy Gahcch tyes
Maiecd sune /O, A019. jee Ppa ao cegh \\.

An ADSAONOG, cguendo 5 Aime. exclude

|
SE EEE

‘ond SoVed con: le Coie Spandence do) in Sans

OA Desire.) SEVIS) Goy Mme She even oo \

 

4

Fee ak Swe FBT Cocos closed clue Sy COVID~)F

God Qn} equ radk, doling. Pam Asked by lars,

[Nne ERT hos 3¥\\ Crolated Cederal Stodute.

1B. As a cesuts of Mee F Ors Larluce

SO Sespond GeiSNin Ane Joos JF  mandk3S Me.

 

We iSe_ is deemed So have exhausted hy

——--4}

Admin SytakVe Camechics parcsuent ts /th

: pose Zs

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 8 of 11

 

5 45.6. 3 s5a(aVle(c)G).

 

 

Wt. Mo Weise S\ode5 Jrne FBI hos

 

Wo Vasyenon IN pioviding ANe Ceguestect

 

 

chocumensS cue So ¥Ne alteady clap sec/ 19

 

 

 

 

Moayhs | Gack Muss Nave a cows order cra

 

Otder Gor Je FE BI Ao Comply 625th Celera. |

 

 

 

\aw,

 

 

_Relkel Reg uesteel

 

 

 

 

 

QO- Mi, Werse Cedpeck Cully Ce guest ANWe

 

 

 

Cord ardey We Y¥ BE Xo Produce a\\ ecard

 

 

ad cescetbed rn Wo OLg.nal cequest G).

 

a\. Mt, Weise Cespecdtully Ccgueoks \Vhe

 

 

 

Coucs Se asssS5 re Biking Gees in YHOO ackon

 

 

 

 

 

 

 
 

Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 9 of 11

O9.ainss Yne ¥F BI pursuant So  S 43.6. SKA le.)

(4) (EY along Loa any ode costs and/or

 

{damages So be Proven in association  tuith

Yris ack on.

.

Ja. Mt. Weide  CespedSfully Ceguests any

ond al adhe ceVef as 3a heh he oy

endArted te and Ye coor  cleemms oot,

 

|Nece S504 5 And propre,

23. Pursuans Xe Jb Ud¢. § JAYS, FT

Weceby declare trader \ne penalty of  Perjacy

Yok Vre aforementioned is Acne anel aerate

Xo Awe bess of omy Knowledges belief, anol

rnCor maton. + also declare Under pena \ty

poge 4 - : =

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 10 of 11

aft PsGec Avo a (ne ‘ lea One copy yo She

 

 

 

edisseids Cour’ by placng Satd clocumend vn

 

ANe Nandy of PLIGN alfictaly tosh ple pacd

 

 

|
}

Mopsage odsocked, on Angus ai. LOAS.
j 7 J ga

 

Execu ed Araguss Ol Jodo

 

 

RespedGully Sebo Mee,

 

 

 

_Ce————

OQmor We se

 

2 IS8134- 004

 

 

Fcc Pesers bucg — Me Sum
P.O. Bax /b0O0

 

Pedxe shuvg VA. AZ899

 

 

 

 

 

 

 

 

 

 

paqe |b
“oS

 

 

 

 
Case 1:20-cv-02572-KBJ Document1 Filed 09/08/20 Page 11 of 11

O meg WEDe BIBSIZ eof OR HEURES
Rede Cosiecds tone) Compler- Hedin N@ SEP 200 PML)

Po. Dor ]O0S

Perersbuy, VA. ABR0F

Lin: heel States Dished Coe)
224 Cons} ur Avec. , Mw
Washing Te, De go00\

PUGH 4 -BeCSIS PHAM fife et il dll

amt

 
